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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                         www.flsb.uscourts.gov



In re:

JOSEFINA ALCAZAR
                                                                        Case No 22-13870-LMI
                                                                        Chapter 13



                   Debtors (s)           _____ /


              Attorney-Represented Debtors’ Verified Motion for Referral to
                           Mortgage Modification Mediation

         The Debtor files this Verified Motion for Referral to Mortgage Modification

Mediation (“Motion”) and requests the Court enter an Order Granting Debtor’s Motion for

Referral      to    Mortgage     Modification    Mediation”      (“Order”)    referring    Debtor   and

SHELLPOINT MORTGAGE SERVICING, P.O. BOX 10826, Greenville, SC 29603

(“Lender”) to Mortgage Modification Mediation (“MMM”) and states as follows:



         1.        Debtor is an individual who filed for bankruptcy relief under, or converted to,

                   chapter 13 on 5/17/2022.

         2.        Debtor requests MMM for real property (“Property’) 14712 SW 173 ST,

                   Miami, FL 33187 account number for this Property is 9825 (last four digits).

                   a. The Property is (check one box):

                      x the Debtors primary residence

                      __ not the Debtor’s primary residence



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              b. Borrowers obligated on the promissory note and mortgage on the

                  Property are (check one box):

                  x Debtor’s only

                      Debtors and non-filing co-obligor/co-borrower/third party

                      Contact information for co-obligor/co-borrower/third party:

                      Name:_____________________________________
                      Address:___________________________________
                              ___________________________________
                      Telephone:_________________________________
                      email:_____________________________________


                     Other:

                      Name:_____________________________________
                      Address:___________________________________
                              ___________________________________
                      Telephone:_________________________________
                      email:_____________________________________


              c. If applicable, Debtor’s attorney has simultaneously filed with this

                  Motion the MMM Local Form “Third Party’s Consent to Attend and

                  Participate in Mortgage Modification Mediation” signed by each co-

                  obligor/co-borrower/third party listed above.

       3.     Debtors intend to (check all boxes that apply):

              x   modify the mortgage on the Debtors’ primary residence.

                  modify the mortgage on Property that is not the Debtors’ primary

                  residence.

                  surrender the Property to the Lender.




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       4.     Prior to filing this motion, Debtors remitted to Debtors’ attorney the

              required non-refundable portal submission fee in the amount of $40.00

              and the required non-refundable Document Preparation Software fee in

              the amount of $40.00 for a total fee of $80.00.

       5.     Prior to filing this motion, Debtors’ attorney completed Debtors’ information

              using the court-approved on-line program that facilitates the preparation of

              the Debtors’ loan modification package (“Document Preparation

              Software”) and has paid the $40.00 Document Preparation Software fee to

              the approved vendor. Debtors’ initial loan modification forms have been

              generated and are ready for signature and submission. Debtors’ attorney

              has also collected all of the required supporting documentation as

              required by the Document Preparation Software (such documentation and

              forms referred collectively to as “Debtors’ Prepared Package”) and is

              prepared to submit the supporting documentation along with the

              modification forms.

       6.     Prior to filing this motion, Debtors’ attorney has determined that:

              x   Lender is registered with the approved Mortgage Modification

                  Mediation Portal (“MMM Portal”);

                  Lender is not registered. Debtors requests the Court require Lender to

                  register with the MMM Portal within seven days after entry of the

                  Order.

       7.     Debtors requests Lender consider (check as many boxes as applicable):

              x   a HAMP or government sponsored loan modification



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              x   a conventional loan modification

                  a deed in lieu of foreclosure

                  a state court consent in rem final judgment of foreclosure

                  surrender options

                  other: __________________________________________________

       8.     IF DEBTORS IS REQUESTING NON-RETENTION (SURRENDER)
              OPTIONS:
              a. Debtors will submit all additional documents required for surrender as

                  provided for on the MMM Portal.

              b. Debtors represents that the property has been listed for sale.

       9.     Prior to filing this motion, Debtors remitted the required mediator’s fee in

              the amount of $300.00 to Debtors’ attorney, unless the Debtors is seeking

              pro bono mediation under paragraph 11. Debtors understands and

              acknowledges that after the mediator is designated, the mediator’s fee is

              not refundable for any reason at any time.

      10.     Within seven days after filing the MMM Local Form “Debtors’ Notice of

              Selection of Mortgage Modification Mediator (or “Notice of Clerk’s

              Designation of Mortgage Modification Mediator”) or the Lender’s

              registration on the MMM Portal, whichever occurs later, Debtors’ attorney

              shall upload and submit through the MMM Portal, Debtors’ Prepared

              Package, together with any additional forms or documents which Lender

              may post on the MMM Portal, and pay a non-refundable MMM Portal

              submission fee in the amount of $40.00. In addition, the Debtors’ attorney




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              will upload the Order to the MMM Portal as part of the submission of

              Debtors’ documentation.

      11.     Debtors’ attorney:

              x   will forward the mediator’s fee directly to the mediator within seven

                  days after designation of the mediator; OR

                  represents that the Debtors requests he/she be considered as a

                  candidate for pro bono mediation because the Debtors’ undersigned

                  attorney is representing the Debtors pro bono, or Debtors’ income is

                  less than 150% above the poverty level (see attached calculation).

      12.     Debtors consents to Lender communicating directly with Debtors’ attorney

              for any and all aspects of the mortgage modification mediation program.

      13.     [For chapter 7 Debtor’s] Debtors understands and consents to this Court’s

              MMM procedures which require that, if the Debtors becomes otherwise

              eligible for entry of a discharge before the MMM process is completed, the

              Court shall delay issuance of the discharge until either an agreement is

              reached or the parties reach impasse as reflected in the Local Form "Final

              Report of Mortgage Modification Mediator".



   WHEREFORE, Debtors requests that the Motion be granted and for such other and

   further relief as this Court deems proper.




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                              DEBTORS’ VERIFICATION


Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury the foregoing is true and
correct on July 26, 2022.


                                                /s/ JOSEFINA ALCAZAR




                             CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the Debtor’s Motion for Referral
to Mortgage Modification Mediation was served by U.S, first class Mail, upon the parties
listed below on July 26, 2022.



                                               /s/ Diego G. Mendez
                                               Diego G. Mendez, Esq.
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Lender : SHELLPOINT MORTGAGE SERVICING, PO BOX 10826, GREENVILLE, SC
29603




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